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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10          SAMSOM MICHAEL,                              CASE NO. C20-0565JLR

11                               Petitioner,             ORDER GRANTING MOTION
                   v.                                    FOR APPOINTMENT OF
12                                                       COUNSEL
            ICE FIELD OFFICE DIRECTOR,
13
                                 Respondent.
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15          This matter comes before the court on Petitioner Samsom Michael’s motion for

16   appointment of counsel. (Mot. (Dkt. # 15).) Respondent Nathalie Asher, U.S.

17   Immigration and Customs Enforcement (“ICE”) Field Office Director for the Seattle

18   Field Office (“the Government”) did not oppose the motion. (See generally Dkt.) The

19   court has reviewed the motion, the relevant portions of the record, and the applicable law.

20   Being fully advised, the court GRANTS Petitioner’s motion. The court hereby appoints

21   the office of the Federal Public Defender for the Western District of Washington, 1601

22   //


     ORDER - 1
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 1   Fifth Avenue, Suite 700, Seattle, Washington, 98101 (206) 553-1100, as counsel for

 2   Petitioner in this matter.

 3          The court ORDERS counsel for the Federal Public Defender to file a notice of

 4   appearance within five days of the filing date of this order. If counsel is unable to assume

 5   this representation, a motion for relief from appointment should immediately be filed

 6   with the court. Additionally, the court ORDERS the parties to meet and confer and file a

 7   joint status report proposing a schedule for briefing on Petitioner’s response, if any, to

 8   Magistrate Judge Michelle L. Peterson’s report and recommendation (R&R (Dkt. # 13))

 9   or to the Government’s objections thereto (Gov’t Obj. (Dkt. # 14)) within five days of the

10   filing date of this order.

11          The court DIRECTS the Clerk to send a copy of this order to Mr. Michael, to

12   counsel for Mr. Michael, and to counsel for the Government.

13          Dated this 19th day of October, 2020.

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15                                                     A
                                                       JAMES L. ROBART
16
                                                       United States District Judge
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     ORDER - 2
